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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )       1:08-CR—00212-OWW
                                            )
12                    Plaintiff,            )
                                            )       FINDINGS OF FACT AND
13        v.                                )       CONCLUSIONS OF LAW ON
                                            )       FORFEITURE
14                                          )
     HARJEET MANN, et.al.,                  )
15                                          )
                                            )
16                    Defendants.           )
                                            )
17
18        After hearing argument for and in opposition to an order of
19   forfeiture, and considering the evidence presented at trial, the Court
20   makes the following findings of fact:
21        1.     On June 25, 2009, a jury found defendants Harjeet Mann
22   (“Mann”),    Sukhraj    Dhaliwal      (“Dhaliwal”)and    Gurmeet   Singh   Bisla
23   (“Bisla) guilty of 21 U.S.C. §§ 841 (a)(1), 841(b)(1)(A) and 846
24   (Conspiracy to Distribute and to Possess with Intent to Distribute
25   Cocaine).   The same jury found defendants Mann and Dhaliwal guilty of
26   21 U.S.C. §§ 841(a)(1), 841(b)(1)(a) and 846 (Attempted Possession
27   with Intent to Distribute Cocaine).               The Indictment also sought
28   forfeiture of various cash seizures and all proceeds of the crimes of



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1    conviction.
2         2. On June 25, 2009, the defendants waived their statutory right
3    to have the jury determine forfeiture.
4         3.    At trial, The United States introduced evidence that the
5    following assets constitute proceeds obtained directly or indirectly
6    as a result of the crimes of conviction and/or were used or intended
7    to be used to commit or to facilitate the crimes of conviction:
8         a.    Approximately $169,910.00 in United States currency seized
9               on or about March 26, 2008.
10              (1)   Defendant Mann owned a business known as Star Leaf
11                    Trucking based in Mississauga, Ontario Canada and
12                    Bakersfield, California.(Testimony of Senior Deputy
13                    Jose Perez, Testimony of Amar Mann; Trial Exhibits 10-
14                    j, 10-l.)
15              (2)   The Windsor, Detroit area, which is proximate to the
16                    Illinois/Indiana border is one of the points of entry
17                    into the province of Ontario, Canada, where both
18                    Toronto and Mississauga are located and where the Star
19                    Leaf Trucking business was, in part, conducted by
20                    defendant Mann.           (Trial Exhibits 9c, 9d, 9h, 9i.)
21              (3)   Currency in large amounts was used by Mann and his co-
22                    conspirators in the pursuance of the interstate drug
23                    trafficking conspiracy to buy cocaine; this currency
24                    was   provided       to    the   sources   of   cocaine   who   were
25                    sellers.      (Testimony of Senior Deputy Jose Perez;
26                    Testimony of Adam Gage; Testimony of Pavandeep Toor;
27                    Trial Exhibits 1-d, 1-d-1, 3-b-4, 3-b-6, 3-b-7, 3-f-
28                    1.)



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1               (4)   The   cross-country         transportation     of   currency     and
2                     cocaine from Canada to California, through Chicago,
3                     Illinois     was     accomplished    by    Mann     and    his   co-
4                     conspirators       through    the   use   of   18-wheel     trailer
5                     trucks.      (Testimony of Senior Deputy Jose Perez;
6                     Testimony of Adam Gage, Testimony Pavandeep Toor;
7                     Trial Exhibits 1-d, 1-d-1.)          Adam Gage testified that
8                     in 2005, he was present with Mann in the vicinity of
9                     Chicago, Illinois in order to pick up currency for the
10                    exchange of cocaine, which he then transported to
11                    California via a 18-wheel trailer truck.
12              (5)   On March 26, 2008, Bisla was stopped by a state
13                    trooper in Sheldon, Illinois for a commercial truck
14                    violation after failing to stop for a weigh station.
15                    (Testimony of Trooper Gregory Dorsey)                     Bisla was
16                    driving his brother’s 18 wheel trailer truck and was
17                    in possession of his brother’s driver’s license. When
18                    stopped, Mr. Bisla acted nervous, furtive and he was
19                    visibly upset when Trooper Dorsey challenged some of
20                    his assertions and statements.            (Testimony of Trooper
21                    Gregory Dorsey; Trial Exhibit 6-f.)
22              (6)   Following an alert to the truck by a drug detecting
23                    canine, $169,910.00 in United States currency was
24                    found in the sleeper portion of the truck Bisla was
25                    driving.       (Testimony      of   Trooper    Gregory      Dorsey;
26                    Testimony of Officer Robert Cain; Trial Exhibits 6-k,
27                    6-m, 6-n, 6-p, 8-j-1 through 16.)            The canine used Boy
28                    14) is trained to alert to drugs, including cocaine



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1                     and does not alert to currency.               (Testimony of Officer
2                     Robert Cain; Trial Exhibits 6-b through 6-d, 6-e-1, 6-
3                     e-2, 6-f.)
4               (7)   Defendant Bisla was acquainted with defendant Mann and
5                     his co-conspirator Jasdev Singh; he was from the
6                     Bakersfield area, although his brother’s trucking firm
7                     was in Livingston, California at the time of the
8                     events     at   issue.        (Testimony       of    Trooper       Gregory
9                     Dorsey; Trial Exhibits 6-a-2, 6-a-3, 9-b.)
10              (8)   One of the circumstances of the operation of Mann’s
11                    drug trafficking business was that if a load was
12                    interdicted and/or seized, including any drugs or
13                    currency, Mann required the courier or the transporter
14                    to   provide       evidence     that     it    was    a     seizure     by
15                    government      authority.        (Testimony         of    Deputy     Jose
16                    Perez; Trial Exhibit 1-d.)
17              (9)   During his meeting with Deputy Perez on June 20, 2008,
18                    Mann discussed a “loss of a load two or three months
19                    ago.”      (Testimony of Senior Deputy Jose Perez; Trial
20                    Exhibits 1-d, 1-d-1.)
21              (10) Forfeiture papers from the State of Illinois relating
22                    to the March 26, 2008 seizure of $169,910.00 were
23                    mailed by Bisla to his girlfriend, Angelina Sifuentez
24                    at her residence in Merced, California. (Testimony of
25                    Angelina Sifuentez.)            The papers and the envelope
26                    addressed to Ms. Sifuentez were found in Mann’s closet
27                    at   the    time     of   the   search    of    Mann’s       residence.
28                    (Testimony      of    Special     Agent       Shawn       Riley;     Trial



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1                     Exhibits 3-a-1, 3-a-2.)
2          b.   Approximately $739,394.00 in United States currency seized
3               on or about June 20, 2008.
4               (1)   On June 20, 2008, United States currency in the amount
5                     of $739,394.00 was taken by co-conspirators of Mann to
6                     the Denny’s restaurant in Bakersfield to be given to
7                     Deputy Perez of the Kern County Sheriff’s Office who
8                     was acting in an undercover capacity as a cocaine
9                     purchaser.       The currency was to be the consideration
10                    for approximately 70 kilograms of cocaine. (Testimony
11                    of Senior Deputy Jose Perez, Testimony of Special
12                    Agent Shawn O’Neill, Testimony of Special Agent Bob
13                    Beris, Testimony of Deputy Joel Swanson, Testimony of
14                    Deputy Darin Granthan; Testimony of Sukhraj Dhaliwal;
15                    Trial Exhibits 1-d, 1-d-1,1-d-13, 1-d-14, 2-a-1, 2-a-
16                    2, 2-a-3, 2-a-4, 2-c-5, 8-e-3, 8-e-4, 8-e-10.)
17              (2)   The currency was seized by law enforcement on June 20,
18                    2008 in the backseat of a silver Mitsubishi Galant
19                    driven by Dhaliwal upon Dhaliwal’s arrival at the
20                    Denny’s    restaurant         in     Bakersfield,     California   as
21                    directed by Mann.            (Testimony of Senior Deputy Jose
22                    Perez,    Testimony      of     Special    Agent      Shawn   O’Neill,
23                    Testimony of Special Agent Bob Beris, Testimony of
24                    Deputy    Joel       Swanson,      Testimony     of    Deputy   Darin
25                    Granthan;     Testimony         of     Sukhraj     Dhaliwal;    Trial
26                    Exhibits 1-d, 1-d-1,1-d-13, 1-d-14, 2-a-1, 2-a-2, 2-a-
27                    3, 2-a-4, 2-c-5.)
28   ///



     FINDINGS OF FACT AND CONCLUSIONS OF
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1         c.    Approximately $101,763.70 in United States currency seized
2               on or about June 20, 2008;
3               (1)   On June 20, 2008, United States currency in the amount
4                     of   $101,763.70      was   taken   by   Mann   to    the   Denny’s
5                     restaurant in Bakersfield to be given to Deputy Perez
6                     of the Kern County Sheriff’s Office who was acting in
7                     an undercover capacity as a cocaine purchaser.                 The
8                     currency was to be part of the consideration for
9                     approximately 70 kilograms of cocaine.               (Testimony of
10                    Senior Deputy Jose Perez, Testimony of Special Agent
11                    Shawn O’Neill, Testimony of Special Agent Bob Beris,
12                    Testimony of Deputy Joel Swanson, Testimony of Deputy
13                    Darin Granthan; Testimony of Sukhraj Dhaliwal; Trial
14                    Exhibits 1-d, 1-d-1,1-d-13, 1-d-14, 2-b, 2-b-1, 2-b-2,
15                    2-c-4.)
16              (2)   The currency was seized by law enforcement on June 20,
17                    2008    at   the     Denny’s   restaurant       in   Bakersfield,
18                    California.     (Testimony of Senior Deputy Jose Perez,
19                    Testimony of Special Agent Shawn O’Neill, Testimony of
20                    Special Agent Bob Beris, Testimony of Deputy Joel
21                    Swanson, Testimony of Deputy Darin Granthan; Testimony
22                    of Sukhraj Dhaliwal; Trial Exhibits 1-d, 1-d-1,1-d-13,
23                    1-d-14, 2-a-1, 2-a-2, 2-a-3, 2-a-4, 2-c-4, 2-c-5.)
24        4.   The Court finds by a preponderance of the evidence that the
25   above-listed property constitutes, or is derived from, proceeds
26   obtained directly or indirectly from a violation of 21 U.S.C. §§ 841,
27   846 and/or was used or intended to be used to commit or to facilitate
28   a violation of 21 U.S.C. §§ 841, 846.            The Court finds there is a



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1    nexus between the crimes of conviction and the forfeiture of the
2    above-listed assets.
3         The Court further makes the following Conclusions of Law:
4         1.   Pursuant to 21 U.S.C. § 853, the United States is entitled
5    to the forfeiture of proceeds obtained directly or indirectly as a
6    result of crimes of conviction and any property used or intended to
7    be used to commit or to facilitate the crimes of conviction.
8         2.    Additional claims, if any, that some portion of the above-
9    listed assets subject to forfeiture by this order belong to third
10   parties must be made by way of ancillary petitions.            Fed. R. Crim.
11   Proc. 32.2(c).
12
13   DATED: 8/3/2009                       /S/ OLIVER W. WANGER
                                           OLIVER W. WANGER
14                                         District Court Judge
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     FINDINGS OF FACT AND CONCLUSIONS OF
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